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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  Carthan v. Snyder
  Case No. 16-10444

  ________________________________/

  ORDER GRANTING THE STATE DEFENDANTS’ UNOPPOSED
  MOTION FOR AN EXTENSION OF TIME TO FILE AN ANSWER
       [808], AND THE MDEQ AND MDHHS EMPLOYEE
  DEFENDANTS’ STIPULATION FOR AN EXTENSION OF TIME
                  TO FILE AN ANSWER [810]

       On April 1, 2019, the Court entered an opinion and order granting

 in part and denying in part plaintiffs’ motion for leave to file an amended

 complaint, and granting in part and denying in part defendants’ motions

 to dismiss. (Dkt. 798.) Two weeks later, the state defendants filed an

 unopposed motion to extend their time to file an answer to the amended

 complaint. (Dkt. 808.) The state defendants requested until May 5, 2019,

 and plaintiffs concurred in the requested extension. (Id. at 2.) The next

 day, the MDEQ and MDHHS employee defendants similarly filed a
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 stipulation to extend their time to file an answer until April 30, 2019.

 (Dkt. 810.)

       Accordingly, the state defendants’ motion (Dkt. 808) is GRANTED.

 Because May 5, 2019, is a Sunday, the Court grants the state defendants

 until May 6, 2019, to answer. Similarly, the MDEQ and MDHHS

 employee defendants’ motion (Dkt. 810) is also GRANTED. They have

 until April 30, 2019, to answer, as requested.

       IT IS SO ORDERED.

 Dated: April 25, 2019                     s/Judith E. Levy
      Ann Arbor, Michigan                  JUDITH E. LEVY
                                           United States District Judge

                       CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on April 25, 2019.

                                           s/Shawna Burns
                                           SHAWNA BURNS
                                           Case Manager




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